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                     United States Court of Appeals
                                       For the First Circuit
                                          _____________________

      No. 24-2009

                                         ANTONIO RAMOS-CRUZ,

                                            Petitioner - Appellee,

                                                       v.

      LORRAINE MARTÍNEZ ADORNO, in their official capacity; JANET PARRA MERCADO, in
                              their official capacity,

                                          Respondents - Appellants,

                                         ANA ESCOBAR-PABON,

                                                Respondent.
                                            __________________
                                            ORDER OF COURT

                                            Entered: May 14, 2025

              Before the court are petitioner-appellee Antonio Ramos-Cruz's motion to disqualify the
      firm hired by the Puerto Rico Department of Justice to handle this appeal, as well as a motion to
      consolidate this appeal with Appeal No. 24-2150, indicating that counsel for petitioner-appellee in
      that appeal does not oppose consolidation. Respondents-appellants have filed oppositions to both
      motions.

             The opposed motion seeking to disqualify the firm is denied without prejudice subject to
      reconsideration before the merits panel.

              The opposed motion to consolidate is granted. Appeal Nos. 24-2009 and 24-2150 are
      consolidated for purposes of briefing and oral argument. The briefing schedules are hereby
      vacated, and the clerk will set a new briefing schedule in due course. Appellants shall file a joint
      brief and appendix.

                                                            By the Court:

                                                            Anastasia Dubrovsky, Clerk

      cc:
      Rachel Brill
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      Franco L. Pérez-Redondo
      Kevin Lerman
      Idza Díaz Rivera
      Luis R. Roman-Negron
      Omar J. Andino Figueroa
      Fernando Figueroa Santiago
      Mariola Abreu Acevedo
